                               Case 15-16123-AJC      Doc 18      Filed 05/07/15      Page 1 of 1

                                 UNITED STATES BANKRUPTCY COURT
                                      Southern District of Florida
In Re: Santos Gomez
                                                          Case No.         15-16123-AJC
                                Debtor(s)                 Chapter 13
------------------------------------------/

                               MIAMI-DADE COUNTY TAX COLLECTOR’S
                            NOTICE TO DEBTOR OF ADDITIONAL CREDITORS
        MARCUS SAIZ DE LA MORA, as Tax Collector of MIAMI-DADE COUNTY, Florida, hereby gives notice that the
following certificate holder(s) purchased at auction, the pre-petition, secured, real property tax liens of the MIAMI-DADE
COUNTY Tax Collector, pursuant to Chapter 197, Florida Statutes.

Date: 05/07/2015

   Certificate              Bidder Address      Parcel Number         Tax Year        Cert. No.       Certificate    Int. Bid
    Holder                                                                                             Amount
TLGFY LLC                CAPITAL ONE NA        01-3123-015-0980     2011, 2012,     142708           $5,597.44       18%
83920                    AS PO BOX 54347,                           2013
                         NEW ORLEANS, LA
                         701544347

         The certificate amount reflects the certificate amount due as of the date on this form. The claim of the MIAMI-
DADE COUNTY Tax Collector, if any, is specifically set forth on a separate Proof of Claim and does not include the
amounts due the certificate holder(s) identified herein. **The tax certificate shall be redeemed at the interest rate due or
the five percent (5%) mandatory charge, whichever is greater, F.S. 197.472 (2). The Tax Collector does not represent the
Certificate Holders in this matter, nor does the notice to the Tax Collector constitute notice to the Certificate Holders. The
addresses of the certificate holders are set forth in the Certificate of Service.

                                              CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing has been provided either by electronic transmission
or by U.S. first class mail postage prepaid to:

The Certificate Holder(s) listed above
The United States Bankruptcy Court, Southern District of Florida , 301 N. Miami Avenue, Room 150, Miami, FL          33128
Attorney for the Debtor: Ricardo Corona, bk@coronapa.com
Trustee: Nancy K. Neidich, P.O. Box 279806, Miramar, FL 33027-4452, e2c8f01@ch13herkert.com

                                                                   Marcus Saiz de la Mora, Tax Collector
                                                                   MIAMI-DADE COUNTY, FL

                                                                   By: _______/S/_____________
                                                                   DARELY GARCIA-LOPEZ
                                                                   Paralegal Collection Specialist
                                                                   Paralegal Unit
                                                                   200 NW 2nd Avenue
                                                                   Miami, FL 33128
                                                                   305-375-2119 Fax (305) 375-1142
                                                                   E-Mail: dgjp@miamidade.gov
                                                                   MDTCBKC@miamidade.gov
